Case 9:18-cr-80109-RLR Document 2 Entered on FLSD Docket 05/08/2018 Page 1 of 1
                            UN ITED STATES DISTRICT COURT
                            SO UTHERN DISTRICT O F FLORIDA


                                    Case N o.18-8211-W M
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                                                                            lh                D,C.
IN RE:
                                                                           MAt 2 2218
CRIM INA L CO M PLA IN T
                                                                            STEVEN M.LARIMORE
                                                                             ctcRx tls DIsT.cT.
                                                                            s.o.oF/L$.-w.RB.

                                     M O TIO N T O SE A L

       COM ES N O W ,the U nited StatesofAm erica,by and through itsundersigned attom ey,and

respectfully requests this H onorable Courtto sealthe attached Com plaintand Affidavit tiled in

supportthereof,w ith the exception ofa copy ofthe W arrantforArrestto be provided to theU nited

StatesM arshals Service,untilsuch tim e asthe defendantis arrested,oruntilfurther Order ofthe

Court. The defendantisthe targetofan ongoing investigation and early release ofthe Com plaint

w ould com prom ise the investigation and could cause the defendantto flee, attem ptto elude 1aw

enforcem ent,and/or destroy evidence.

                                            Respectfully subm itted,

                                            BEN JA M W G .GREEN BERG
                                            U NITED STA TES A TTO RN EY




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